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 15                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 16                                WESTERN DIVISION
                                                Case No. 2:21-cv-04405-RGK-MAR
 17   PAUL SNITKO, JENNIFER
      SNITKO, JOSEPH RUIZ, TYLER                DECLARATION OF ROBERT
 18   GOTHIER, JENI VERDON-                     FROMMER IN SUPPORT OF
      PEARSONS, MICHAEL STORC,                  PLAINTIFFS’ EX PARTE
 19   and TRAVIS MAY,                           APPLICATION TO SET A
                                                SCHEDULE FOR PRODUCTION
 20                                 Plaintiffs, OF DOCUMENTS AND
                   v.                           DISCOVERY MOTIONS
 21
                                                (Filed Concurrently with Plaintiffs’ Ex
 22   UNITED STATES OF AMERICA,                 Parte Application; Memorandum of
      TRACY L. WILKISON, in her                 Points and Authorities; Declaration of
 23   official capacity as Acting United        Nilay U. Vora, Supporting Exhibits; and
      States Attorney for the Central           Proposed Order)
 24   District of California, and KRISTI        DISCOVERY MATTER
      KOONS JOHNSON, in her official            Judge: Hon. Margo A. Rocconi
 25   capacity as an Assistant Director of
      the Federal Bureau of Investigation,      Discovery cutoff date: TBD
 26                                             Pre-Trial Conference Date: TBD
                                                Trial Date: July 26, 2022
                                  Defendants. Complaint
 27                                                        Filed: May 27, 2021
                                                Amended Complaint Filed: June 9, 2021
 28

                                  DECLARATION OF ROBERT FROMMER
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  1           I, Robert Frommer, submit the following declaration in support of Plaintiffs’
  2   Ex Parte Application to Set a Schedule for Production of Documents and Discovery
  3   Motions.
  4           1.    I am an active member of the State Bar of Virginia and a senior
  5   attorney at the Institute for Justice. I am admitted pro hac vice in this proceeding,
  6   and I submit this declaration in support of Plaintiffs’ Ex Parte Application.
  7           2.    On April 21, 2022, I participated in a meet-and-confer concerning the
  8   schedule for production of documents in this case. Nilay Vora and Robert Johnson
  9   also participated in the call, as counsel for Plaintiffs. Defendants (the United States
 10   of America and two officials sued in their official capacities, referred to herein after
 11   as the “government”) were represented by AUSA Victor Rodgers. Plaintiffs
 12   requested this conference to determine whether Defendants would oppose
 13   Plaintiffs’ Ex Parte Application and to discuss with Defendants outstanding issues
 14   regarding the government’s production.
 15           3.    At the April 21 conference, Counsel for Plaintiffs orally discussed the
 16   scope of relief sought by Plaintiffs’ Ex Parte Application and asked Defendants
 17   whether they opposed that application. Counsel for Defendants stated that he
 18   opposed the application.
 19           4.    Counsel for Plaintiffs asked Counsel for Defendants the reason for the
 20   slow pace of production of responsive documents. Counsel for Defendants
 21   reiterated that Defendants intend to produce documents in response to Plaintiffs’
 22   requests, including RFPs 6, 7, 8, and 9. But he went on to state that the FBI
 23   contains numerous different departments that are responsible for production in this
 24   action. He further stated that production has been stymied due to his inability to
 25   communicate with some of those departments or to require that they complete their
 26   production within a certain time. Due to these internal processes, Counsel for
 27   Defendants could not commit to a firm document production deadline of May 6,
 28   2022.
                                                 2
                                 DECLARATION OF ROBERT FROMMER
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  1         5.     Similarly, Counsel for Defendants stated that he could not commit to
  2   producing the videos responsive to Plaintiffs’ Request for Production No. 9 by any
  3   date certain. He was unable to provide any estimated completion date for the
  4   videos and suggested it might be even later than May 6. Counsel stated that, despite
  5   the entry of a protective order in this case, the FBI needed to redact certain
  6   information from the videos before production could occur, and that he did not
  7   know when that process would be complete. Counsel was not able to say what
  8   exactly was being redacted from the videos, but he said that he thought it was
  9   possible the FBI might be redacting references to internal FBI case numbers.
 10

 11         I declare under penalty of perjury under the laws of the United States that the
 12   foregoing is true and correct.
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 14         Executed this 21st day of April, 2022.
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                                              /s/ Robert Frommer
                                              Robert Frommer
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                                DECLARATION OF ROBERT FROMMER
